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 7
    Attorneys for Defendant
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                            FOR THE DISTRICT OF ARIZONA
11   Trevor Reid,                                         No. CV-22-00068-PHX-SMB
12   Crystale Reason
                        Plaintiffs                       NOTICE OF SETTLEMENT
13
                   v.
14
     United States of America,
15
16                      Defendant

17
18          Defendant United States of America, and Plaintiffs Trevor Reid and Crystale

19   Reason, notify the Court that the parties have reached a settlement agreement resolving all

20   claims. Written settlement documentation has been finalized. A stipulated notice of

21   dismissal will be filed upon confirmation of receipt of settlement payment.

22          RESPECTFULLY SUBMITTED this 26th day of October, 2023.
23
      s/Trevor Reid (w/ permission)                GARY M. RESTAINO
24    TREVOR REID, Pro se                          United States Attorney
                                                   District of Arizona
25    s/Crystale Reason (w/ permission)
      CRYSTALE REASON, Pro se                      s/Noel C. Capps
26                                                 NOEL C. CAPPS
                                                   Assistant United States Attorney
27                                                 Attorneys for Defendant
28
      Case 2:22-cv-00068-SMB Document 53 Filed 10/26/23 Page 2 of 2



 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on October 26, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrant(s):
 5
            Trevor Reid
 6          Crystale Reason
            3920 E. Thomas Rd. # 5723
 7          Phoenix, AZ 85010
 8          PRO SE
 9
10          I hereby certify that on October 26, 2023, I served the foregoing document, Notice

11   of Settlement, upon Plaintiffs via First Class U.S. Mail and via email to:

12
            Trevor Reid
13          Crystale Reason
            3920 E. Thomas Rd. # 5723
14          Phoenix, AZ 85010
            PRO SE
15
            Trevor.d.reid@gmail.com
16
            Crystale.reid@gmail.com
17
18
19   s/ Alia C. Alvarez
     U.S. Attorney’s Office
20
21
22
23
24
25
26
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